         Case 1:21-cv-01695-RAH Document 27 Filed 08/27/21 Page 1 of 1




           In the United States Court of Federal Claims
                                         No. 21-1695C
                                     Filed: August 27, 2021


 BLUE ORIGIN FEDERATION, LLC,

                    Plaintiff,

 v.

 UNITED STATES,

                   Defendant.


                                             ORDER

        The defendant has filed an unopposed motion (ECF 26) for leave to file the
administrative record on a series of DVDs and to amend the schedule to allow it to file the
administrative record on September 3, 2021 instead of August 27, 2021, as required by the
current scheduling order (ECF 23). For good cause shown, the motion is GRANTED. The
defendant may file the administrative record on a series of DVDs by September 3, 2021. The
remainder of the current scheduling order remains in force.

         The Court notes the representation that the administrative record is unusually
voluminous. As a result, the Court DIRECTS that each party shall provide to the Court at the
time it files its motion for judgment on the administrative record two hard copies of every
document from the administrative record cited in the party’s brief. The copies shall include the
entire document, even if a party cites only to a portion of that document. The Court will contact
the parties before the motions for judgment on the administrative record are due to arrange for
the format and delivery of the courtesy hard copies of record citations. The party providing the
courtesy copies will not have to file them through the Court’s electronic case filing system,
because the documents will have been drawn from the administrative record already filed in
accordance with this order.

         It is so ORDERED.

                                                                    s/ Richard A. Hertling
                                                                    Richard A. Hertling
                                                                    Judge
